
654 S.E.2d 249 (2007)
Jason M. CRANDELL
v.
AMERICAN HOME ASSURANCE COMPANY.
No. 321P07.
Supreme Court of North Carolina.
November 8, 2007.
Bradley R. Johnson, Allan R. Gitter, Winston-Salem, for American Home Assurance Co.
Jack Bayliss, Jr., Norman B. Smith, Greensboro, for Crandell.
Prior report: ___ N.C.App. ___, 644 S.E.2d 604.

ORDER
Upon consideration of the petition filed on the 10th day of July 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of November 2007."
